 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CRIMINAL NO.: 3:19cr327-MOC

UNITED STATES OF AMERICA )
, ) CONSENT ORDER AND —
Vv. ) JUDGMENT OF FORFEITURE
)
. TONY GARRETT TAYLOR _)

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s).to which the Defendant has pled guilty and that the

Defendant (or any combination of Defendants in this case) has or had a possessory | interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

JL. The following property is forfeited to the United States pursuant to 18 U.S.C. §

981, 18 U.S.C. § 982, and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific

assets is subject to any and all third party petitions under 21 U.S.C. s 853(n), pending final

adjudication herein:

A forfeiture money judgment in the amount of $2,815,325.45, such amount
constituting the proceeds traceable to the offense to which Defendant pled
guilty. Defendant stipulates that the Government may satisfy the money judgment
via forfeiture of involved in property as defined in 18 U.S.C. § 982 and/or substitute
property as defined in 21 U.S.C. § 853(p). For purposes of forfeiture under Section
853(p), Defendant stipulates that, as a result of acts or omissions of Defendant, one or
more provisions of Section 853(p)(1)(A)-(E) are satisfied;

2. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21-U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

3. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and requests for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

4. A forfeiture money judgment shall be included in the defendant’s sentence, and the

United States may take steps to collect the judgment from any property of the defendant, provided,

the value of any forfeited specific assets shall. be credited toward satisfaction of this money
judgment upon liquidation.

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The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of defendant’s crime(s) herein and are therefore subject to forfeiture
pursuant to 18 U.S.C. § 981, 18 U.S.C. § 982, and/or 28 U.S.C. § 2461(c). The defendant hereby
waives the requirements of Fed. R. Crim. P. 32.2 and 43(a) regarding notice of the forfeiture in the
charging instrument, announcement of the forfeiture at sentencing, and incorporation of the

forfeiture in the judgment against defendant. If the defendant has previously submitted a claim in
response to an administrative forfeiture proceeding regarding any of this property, defendant —

 

hereby withdraws that claim. If defendant has not previously submitted such a claim, defendant
hereby waives all night t to do so.

R. ANDREW MURRAY
UNITED STATE TTORNEY

A. TT

 

 

DALLAS J. i—
Assistant Unit d States Attorney

  
  

 

TAN S) @ROMWELL, ESQ.
ttorney for Defendant

UNITED STATES le Gs id boi JUDGE

 

 

| Signed this the $ | day of October, 2019.

 

 

 

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